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11 Michael MacBeane
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13
14                       UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA
16                                WESTERN DIVISION

17
18 Michael MacBeane,                          Case No.: 2:10-cv-03901-RGK -AJW
19
                Plaintiff,                    DISMISSAL
20
21         vs.
22 Portfolio Recovery Associates, L.L.C.;
23 and DOES 1-10, inclusive,
24                  Defendants.
25
26
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28

      2:10-cv-03901-RGK –AJW                                          DISMISSAL
     Case 2:10-cv-03901-RGK-AJW Document 5 Filed 06/15/10 Page 2 of 2 Page ID #:24



 1         NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
 2                 DISMISSAL OF ACTION WITH PREJUDICE
                          PURSUANT TO RULE 41(a)
 3
 4
           Plaintiff, Michael MacBeane, by his attorney, hereby withdraws his
 5
 6 complaint and voluntarily dismisses this action, with prejudice, pursuant to Fed. R.
 7 Civ. P. 41(a).
 8
 9
10
11
12 DATED: June 15, 2010                          LARA SHAPIRO
13
14
15                                               By: /s/ Lara R. Shapiro
                                                 Lara R. Shapiro
16
17                                               Attorney for Plaintiff
                                                 Michael MacBeane
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       2:10-cv-03901-RGK –AJW                                               DISMISSAL
